        Case 1:25-cv-00409-BAH               Document 10          Filed 03/21/25         Page 1 of 7




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                          )
    AMERICAN OVERSIGHT,                   )
                                          )
                               Plaintiff, )
                                          )
                                          )
                                          )
                       v.                 )                       Case No. 25-cv-409-BAH
                                          )
                                          )
    U.S. DEPARTMENT OF GOVERNMENT         )
    EFFICIENCY et al.,                    )
                                          )
                             Defendants. )
                                          )

     PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION FOR EXTENSION OF
      TIME TO ANSWER OR OTHERWISE RESPOND TO AMENDED COMPLAINT

        This is a Freedom of Information Act (FOIA) lawsuit involving eight requests (two seeking

expedited processing) regarding matters of urgent national interest, in which key Defendants have

asserted that they are not subject to FOIA or, impliedly, any related records preservation

obligations. Defendants have been on notice of this lawsuit since February 18, 2025, when the

original Complaint was served. On March 20, 2025, the deadline by which Defendants were to

respond to Plaintiff’s Amended Complaint, 1 they sought a thirty-day extension of that deadline.

Plaintiff opposes that extension due to Defendants’ below-described conduct, which presents a

substantial risk that Defendants will not comply with their records preservation obligations, and

because of the urgency to inform the public about the records at issue. Defendants’ motion should

be denied.


1
  Defendants were served with the Amended Complaint on March 6. ECF No. 7. Pursuant to the Federal Rules of
Civil Procedure, absent a court order, Defendants must make any required response to an amended pleading “within
the time remaining to respond to the original pleading or within 14 days after service of the amended pleading,
whichever is later.” See Fed. R. Civ. P. 15(a)(3).
       Case 1:25-cv-00409-BAH           Document 10        Filed 03/21/25      Page 2 of 7




                                        BACKGROUND

       All eight of American Oversight’s FOIA requests at issue in this lawsuit were filed on

January 30, 2025, and February 3, 2025. See generally Am. Compl., ECF No. 5, ¶¶ 96-128.

Although Defendant OMB acknowledged all eight requests on February 4 and 5, 2025, none of

the DOGE Defendants did, see id., until March 12, 2025.

       American Oversight filed its original Complaint, ECF No. 1, on February 11, 2025, and

served summonses and copies of the complaint and exhibits on February 18, 2025, soon after the

summonses were issued. See Notice of Filing Proof of Service, ECF No. 7. The Amended

Complaint, ECF No. 5, was filed on March 5 and served on March 6. See ECF No. 7. Although

the Amended Complaint includes additional FOIA requests, it raises essentially the same questions

of fact and law as the original Complaint. Defendants—the Department of Government Efficiency,

U.S. DOGE Service (“USDS”), and U.S. DOGE Temporary Service Organization (collectively,

“DOGE Defendants”), as well as the Office of Management and Budget (“OMB”)—have thus

been on notice of this matter for more than a month.

                                             ARGUMENT

             DOGE Defendants’ Conduct Demonstrates Unwillingness to Comply
                            With Preservation Obligations

       While this litigation was pending, on March 10, 2025, another court in this District rejected

DOGE’s contention that it was not subject to FOIA, finding that Plaintiff in that case was likely to

succeed on the merits on its claim that DOGE is an agency subject to FOIA. See Citizens for Resp.

& Ethics in Washington (“CREW”) v. U.S. DOGE Serv., No. 25-CV-511 (CRC), 2025 WL

752367, at *10 (D.D.C. Mar. 10, 2025). There, Judge Cooper ordered DOGE to preserve all

records responsive to CREW’s FOIA requests and begin processing and producing responsive

records on an expedited basis. Id. at *17.



                                                 2
        Case 1:25-cv-00409-BAH                Document 10           Filed 03/21/25         Page 3 of 7




        Two days after Judge Cooper’s order, American Oversight received an email from

admin@DOGE.eop.gov, “in reference to your Freedom of Information Act (FOIA) requests—the

first of which was submitted on January 30, 2025, and multiple others on February 3, 2025 . . . .”

Declaration of Elizabeth Haddix in Support of Opp. Mot. Ext. Time, ¶ 23. Though the email

provided no other identifying details, it appears to address all eight requests at issue in this lawsuit.

DOGE wrote, in full:

        As set forth in Executive Order 14158, Establishing and Implementing the
        President’s “Department of Government Efficiency,” USDS sits within the
        Executive Office of the President, and the USDS Administrator reports to the
        President’s Chief of Staff. We write now to inform you that USDS is subject to the
        Presidential Records Act, 44 U.S.C.S. § 2201 et seq., and is not subject to
        FOIA. We therefore decline your request.

Id., Ex. 1.
        The government clearly disagrees with Judge Cooper’s decision, 2 and thus, apparently,

does not consider Judge Cooper’s order applicable to any FOIA requests outside that litigation. As

explained in more detail below and in a forthcoming motion for a preservation order, the records

preservation obligations applicable under the Presidential Records Act are substantially weaker

than those that apply to agency records under FOIA. Thus, the DOGE Defendants’ position

presents the substantial risk that DOGE will not preserve records responsive to American

Oversight’s requests.3

     Defendants’ Refusal to Stipulate to Preservation Further Demonstrates Risk of Harm




2
  Indeed, USDS has already filed a Motion for Reconsideration—which Judge Cooper rejected. See Citizens for
Resp. & Ethics in Washington (“CREW”) v. U.S. DOGE Serv., No. 25-CV-511 (CRC), ECF No. 23 (D.D.C. Mar.
19, 2025). The government almost immediately filed a Motion for Summary Judgment on the question of whether
USDS/DOGE is an agency subject to FOIA on March 19, 2025. Id., ECF No. 24.
3
  This point is limited to the DOGE Defendants; Plaintiff is not aware of any reason to believe that Defendant OMB
is violating records preservation obligations.


                                                        3
         Case 1:25-cv-00409-BAH                 Document 10           Filed 03/21/25         Page 4 of 7




         As part of counsels’ conferral regarding Defendants’ motion to extend time, American

Oversight sought—but failed—to obtain Defendants’ commitment to stipulate to preserve records

that may be responsive to American Oversight’s FOIA requests.

         Counsel for Defendants first contacted counsel for American Oversight at 5:00 p.m. on

March 19, 2025, the evening before its response deadline and before filing a Notice of Appearance,

seeking consent to extend Defendants’ deadline to respond by over a month. 4 American Oversight

explained that due to the urgency of the information sought—including two FOIA requests filed

on January 30, 2025, which sought expedited processing—American Oversight could not consent,

and asked whether Defendants would stipulate that they “ha[ve] preserved and will continue to

preserve all records responsive to American Oversight’s eight FOIA requests” and “agree to

limited discovery and an expedited briefing schedule on the merits of whether [DOGE] is subject

to FOIA.” Haddix Decl. ¶ 25. The DOGE Defendants have refused to stipulate to a preservation

order, oppose any limited discovery, and have indicated they will not agree to expedited briefing

on the merits. See id. ¶ 27. After much back and forth between counsel ahead of today’s noon

filing deadline, at 10:08am today, Defendant’s counsel told American Overisght’s counsel “OMB

has assured me that they are complying with the Federal Records Act to preserve all records

including those responsive to the FOIA request,” and that while the DOGE Defendants—the only

parties of concern on this point—have not offered any similar “assurances,” “agencies would also

need to preserve records in order to comply with the litigation hold letter that we send out.” Id.

Not only is it unclear whether Defendant’s counsel has sent any “litigation hold letter” to the

DOGE Defendants in this matter, even if it has, that would resolve the issue here. See CREW I,

565 F. Supp. 2d at 29-30 (“[T]he assurances of OA’s counsel do not have the force of a Court


4
  Defendants failed to comply with this Court’s requirement that extensions be requested at least four days prior to
the deadline. See Standing Order ¶ 8(b), ECF No. 6.


                                                          4
         Case 1:25-cv-00409-BAH                Document 10           Filed 03/21/25         Page 5 of 7




Order, and . . . violations of such assurances are not punishable by contempt. While the Court

accepts OA’s counsels’ assurances that the documents responsive to CREW’s FOIA requests will

be preserved, absent a Court Order to that effect, CREW would have no recourse if they were

not.”)

         In short, if Defendants had agreed to a preservation order, Plaintiff would have been able

to consent to some extended deadline, although a month remains far too long due to the urgent

need for records that would inform the public about DOGE’s activities.5 In light of all the

indications that the DOGE Defendants may not be properly preserving agency records, Plaintiff

intends to file forthwith a motion for a preservation order.

         As Plaintiff’s forthcoming motion will elaborate, the Presidential Records Act (“PRA”)

both defines “records” more narrowly than FOIA or the Federal Records Act (“FRA”), and

provides far fewer safeguards and oversight over preservation requirements. In comparing the

FRA with the PRA, the D.C. Circuit emphasized that “[w]hereas federal records are subject to a

strict document management regime supervised by the Archivist, the PRA ‘accords the President

virtually complete control over his records during his term of office.’ Neither the Archivist nor an

agency head can initiate any action through the Attorney General to effect recovery or ensure

preservation of presidential records.” Armstrong v. Exec. Off. of the President, Off. of Admin., 1

F.3d 1274, 1290-91 (D.C. Cir. 1993) (cleaned up). And although the Archivist may “request

congressional advice regarding the President’s intention to dispose of presidential records . . .

neither the Archivist nor the Congress has the authority to veto the President's disposal decision.”

Id. at 1291 (quotation omitted). In contrast, an agency may not “destroy[] a document after it has



5
 Even now, if Defendants would stipulate to an order requiring preservation of all records that may be responsive to
American Oversight’s FOIA requests, American Oversight would modify its opposition and consent to a short
extension.


                                                         5
        Case 1:25-cv-00409-BAH           Document 10         Filed 03/21/25      Page 6 of 7




been requested under FOIA . . . .” Chambers v. U.S. Dep’t of Interior, 568 F.3d 998, 1004 (D.C.

Cir. 2009).

       Therefore, the DOGE Defendants’ assertion—two days after Judge Cooper’s order—that

they are not subject to FOIA presents a substantial risk that records responsive to American

Oversight’s requests will not be preserved pending resolution of the question of FOIA’s

applicability. And their refusal to stipulate to that preservation, even as part of conferral regarding

the government’s requested extension of time in FOIA litigation concerning that very question—

especially when viewed in the context of the conduct described above—gives rise to the reasonable

inference that the DOGE Defendants intend to reserve the option to destroy records that would be

responsive to American Oversight’s FOIA requests.

              The Urgency of the Requests Weigh Against Granting an Extension

       Finally, given American Oversight’s request for expedited processing of its two January

30 requests, further delay will cause significant harm. In the FOIA context, “stale information is

of little value.” Payne Enters., Inc. v. United States, 837 F.2d 486, 494 (D.C. Cir. 1988). These

expedited requests concern DOGE’s role in the January 24 firings of 18 inspectors general. Am.

Compl. ¶¶ 94-108, American Oversight’s mission is to promote accountability in government

through transparency, and it is primarily engaged in disseminating information to the public. See

id. ¶¶ 5, 98, 104-106 & Exs. A-B; see also Am. Oversight v. U.S. Dep’t of Just., No. 24-cv-02789-

PLF (D.D.C. Oct. 21, 2024) (finding that American Oversight is an organization primarily engaged

in disseminating information). And there is a compelling need to inform the public about the

firings of the inspectors general. See 5 C.F.R. § 1303.40(e)(1)(ii);6 Am. Compl., Exs. A, B.




6 This is Defendant OMB’s regulation. It has not been adopted by the DOGE Defendants, which

claim that they are not even subject to FOIA.


                                                  6
       Case 1:25-cv-00409-BAH         Document 10         Filed 03/21/25    Page 7 of 7




Moreover, there is widespread public interest in these firings, which raise questions about the

Government’s integrity that affect public confidence.    See 5 C.F.R. § 1303.40(e)(1)(iv); Am.

Compl., Exs. A, B.

       In light of the foregoing, therefore, we respectfully ask the Court to deny Defendants’

motion to extend their time to respond to Plaintiff’s Amended Complaint. A proposed order is

attached.

Dated: March 21, 2025                             Respectfully submitted,

                                                  /s/ Elizabeth Haddix
                                                  Elizabeth Haddix
                                                  D.C. Bar No. 90019750
                                                  David Kronig
                                                  D.C. Bar No. 1030649
                                                  AMERICAN OVERSIGHT
                                                  1030 15th Street NW, B255
                                                  Washington, DC 20005
                                                  (202) 869-5246
                                                  Elizabeth.haddix@americanoversight.org

                                                  Counsel for Plaintiff




                                              7
